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Kimberley Hudsorl Meredlth, pA' FL URlDA A
Plaintiff,

vs. Case No:

z.‘/')-Cv»azaoz:>=?: 349/dana

Anthem, lnc.,

Defendant.
f

 

COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW, Plaintift` KIMBERLEY HUDSON MEREDITH (“Plainlil`f"” or “Ms.
Meredith"), by and through her undersigned counsel, and hereby sues Det`endant ANTHEM,
INC. (""Employer"), and states as follows:

INTRODUCT[ON

l. This is an action brought pursuant to the Family and Medical Leave Act, as
amended_, 29 U.S.C. sections 2601, et. seq. ("‘FMLA”) to obtain relief for violations of the
FMLA.

2. Pursuant to the FMLA and other applicable law, Plaintiff seeks to recover all
wages, salary, employment benefits, other compensation denied or lost by Plaintit`f as a result of
violations of the FMLA by Defendant, interesl_. liquidated damages, reasonable atlorneys’ fees
and costs, and Such other reliet`as the Court deems just and appropriate

JURISDICTION. VENUE. AND PARTIES
3. This Cour't has subject matter jurisdiction over this action, pursuant to Chapter 26,

Florida Statutes, as Plaintift` seeks to recover damages in excess of $?5,000.00, exclusive of

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attomeys’ fees, costs, and interest.

4. This Court further has jurisdiction pursuant to 29 U.S.C. section 2617, which
permits an employee to bring a private action for violations of the FMLA in any court of
competent jurisdiction.

5. Venue is proper as Plaintiff’s claim arose in, and Employer breached its duties to
Plaintiff, in Tampa, Florida.

6. Additionally, Venue is proper as Employer has, or usually keeps, an office for
transaction of its customary business or has an agent or other representative in Tampa, Flon'da.

7. At all material times, Plaintift` was an “employee” as defined by the FMLA.

8. At all material times, Employer was an “employer” subject to the requirements of
the FMLA and other applicable law.

9. At all material times, Plaintift` was employed by Employer in excess of twelve
(12) months and for at least 1250 hours over the twelve (12) months prior to her need for FMLA
qualifying leave.

GENERAL ALLEGATIONS

10. Ms. Meredith is a fenner employee of Employer, who worked for Employer in
excess of twelve (12) months and was eligible for leave under the FMLA.

ll. Ms. Meredith worked for Employer as a Pre-Authorization Assistant and her
immediate supervisor was Femando Casasa.

12. During the course of her employment, Ms. Meredith suffered a serious medical
condition and/or other qualifying need for leave under the FMLA.

13. Plaintiff timely notified Employer, by and through their managerial employees, of

her serious medical condition and/or other qualifying need for leave.

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l4. As a result of her serious medical condition and/or other qualifying need for
leave, Plaintiff was absent from work and engaged in FMLA protected activity.

15. This FMLA protected activity included Ms. Meredith’s use of both continuous
and intermittent leave afforded to her under the Act.

16. Upon returning from FMLA leave, Plaintift’s employment was terminated.

17. Employer’s reasoning for firing Plaintiff was due to Plaintiff not meeting her
quantity quota of 100%.

18. Employer’s actions were in fact pretextual in nature, and Plaintiff was tired for
partaking in activity protected by the FMLA.

l9. In fact, Plaintiff had even received awards for high quality production.

20. Plaintitf has suffered and continues to suffer grave and severe damage to her
financial welfare, by reason of Employer’s unlawful actions against Plaintiff.

21. Plaintiff has retained the services of the undersigned attorneys and is obligated to
pay her attorneys a reasonable fee for their services.

22. Plaintiff demands a trial by jury on all issues so triable.

w
(Violation of the FMLA - Retaliation)

23. Plaintiffrealleges paragraphs l through 22, above.

24. Employer violated Plaintift"s rights under the FMLA by retaliating against
Plaintiff for partaking in activity protected by the FMLA.

25. As a direct, proximate, and foreseeable cause of the above, Plaintiff suffered
damages.

26. Employer’s violations of the FMLA were done wantonly, maliciously, willfully,

and with the intent to do harm to Plaintiff.

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WHEREFORE, Plaintiff demands judgment against Employer for the following:

Damages in the amount of wages, salary, employment benefits, and other
compensation denied or lost by Plaintiff;

Liquidated damages pursuant to the FMLA and other applicable law;
Prejudgment interest;

Reasonable attorneys’ fees and costs pursuant to the FMLA and other
applicable law, and

All such other relief as the Court deems just, equitable, and appropriate

M
(Violation of the FMLA - lnterference)

27. Plaintiff realleges paragraphs l through 22, above.

28. Employer violated Plaintiffs rights under the FMLA by interfering with

Plaintiff’s use of rights under the FMLA, including use of job-protected continuous and

intermittent leave,

29. As a direct, proximate, and foreseeable cause of the above, Plaintiff suffered

damages.

30. Employer’s violations of the FMLA were done wantonly, maliciously, willfully,

and with the intent to do harm to Plaintiff.

WHEREFORE, Plaintiti` demands judgment against Employer for the following:

a.

Damages in the amount of wages, salary, employment benefits, and other
compensation denied or lost by Plaintiff;

Liquidated damages pursuant to the FMLA and other applicable law;

Prejudgment interest;

Reasonable attomeys’ fees and costs pursuant to the FMLA and other

applicable law, and

All such other relief as the Court deems just, equitable, and appropriate

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JURY TRIAL DE,MAND
Plaintiffdemands ajury trial on all issues so triable.
Dated October 4, 201 ?.
Respectfully submitted,

JOHN BALES ATTORNEYS

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